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                                 No. 24-60040


          IN THE UNITED STATES COURT OF APPEALS
                   FOR THE FIFTH CIRCUIT
          –––––––––––––––––––––––––––––––––––––––––––––
                         INTUIT, INCORPORATED,
                                 Petitioner,
                                       v.
                     FEDERAL TRADE COMMISSION,
                             Respondent.

          –––––––––––––––––––––––––––––––––––––––––––––
                     Petition for Review on an Order of the
                           Federal Trade Commission
                             (FTC Docket No. 9408)
          –––––––––––––––––––––––––––––––––––––––––––––
               SUPPLEMENTAL APPENDIX OF THE
                 FEDERAL TRADE COMMISSION
                 [REDACTED PUBLIC VERSION]
          –––––––––––––––––––––––––––––––––––––––––––––
                                            ANISHA S. DASGUPTA
Of Counsel:                                    General Counsel
LOIS C. GREISMAN                            MARIEL GOETZ
WILLIAM MAXSON                                Acting Deputy General Counsel
ROBERTO ANGUIZOLA
REBECCA PLETT                               BRADLEY DAX GROSSMAN
JAMES EVANS                                 ANUPAMA R. SAWKAR
SARA TONNESEN                                 Attorneys
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2/15/23, 3:50 PM       Case: 24-60040                Document: 205-2         Page:
                                                                free file taxes online 6     Date
                                                                                       - Google     Filed: 08/26/2024
                                                                                                Search


              taxact free file                              irs free file stimulus


              free tax filing for low-income                irs e file login

                                          More results




https://www.google.com/search?q=free+file+taxes+online&ei=HkXtY4KjEtyl5NoPh9mogAM&ved=0ahUKEwiCqqafs5j9AhXcElkFHYcsCjAQ4dUDCBA…   3/3
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  Respondent’s Exhibit 1476
        TY22 Video ad re: “Taxbourine,”
              QTTX0451000H




The video file of this exhibit can be found in the
 disk attached to the end of the record excerpts.
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  1                        UNITED STATES OF AMERICA
  2                        FEDERAL TRADE COMMISSION
  3
  4      In the Matter of:                    )
  5      INTUIT, INC.,                        )
  6              a corporation,               )     Docket No. 9408
  7                    Respondent.            )
  8    -------------------------------)
  9
 10
 11                            TRIAL, VOLUME 3
 12                        THURSDAY, MARCH 30, 2023
 13                     PUBLIC AND IN CAMERA SESSION
 14
 15
 16
 17              BEFORE THE HONORABLE D. MICHAEL CHAPPELL
 18                    Chief Administrative Law Judge
 19
 20
 21
 22
 23
 24
 25                  Reported by:     Sally Jo Quade, RPR
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Intuit, Inc.                                                          3/30/2023

  1                                    I N D E X
  2
  3       Witness:      Direct:   Cross:     Redirect:      Recross:        Court:
  4       Novemsky        348         398         517         528
  5                                               532
  6
  7                EXHIBITS                  FOR ID             IN EVID
  8       Government
  9       None
 10
 11       Respondent
 12       None
 13
 14       Joint
 15       None
 16
 17
 18
 19
 20
 21
 22
 23
 24       *All exhibits premarked for identification prior to
 25        trial.


                            For The Record, Inc.
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            [pgs. 522-23]
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Intuit, Inc.                                                         3/30/2023

  1     that the Spelling Bee Ad in its current form --
  2                 MR. PAIKIN:     Objection.
  3                 JUDGE CHAPPELL:    Basis?
  4                 MR. PAIKIN:     First, I apologize for being late on
  5     the draw, on the mute button, but my objection is I
  6     think it should be clear exactly what copy test he's
  7     talking about.      And so I object.
  8                 JUDGE CHAPPELL:    Do you want to rephrase the
  9     question?
 10                 MS. PLETT:    Yes, Your Honor.
 11                 JUDGE CHAPPELL:    Go ahead.
 12                 BY MS. PLETT:
 13            Q.   In the 2020 copy test that you testified about
 14     earlier, what did that show you about Intuit's TV
 15     advertising?
 16            A.   So that copy test showed to me clearly that the
 17     Spelling Bee Ad, in the form that it was aired,
 18     including any disclaimers, increased consumers' belief
 19     that they could file for free with TurboTax.
 20            Q.   And, Professor Novemsky, do you recall being
 21     asked about the number of complaints put forward by the
 22     FTC in this matter?
 23            A.   I do.
 24            Q.   In your opinion, are the reasons that consumers
 25     might not complain if they have been deceived?


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Intuit, Inc.                                                        3/30/2023

  1            A.   Yes, there are many reasons.
  2            Q.   Could you state a few of those?
  3            A.   Sure.   So for deception to turn into a complaint,
  4     you have to realize you were deceived, you have to think
  5     that it's the company's fault and not yours, and you
  6     might recall on the upgrade screen, it says because of
  7     your tax situation, you'll need to upgrade, so that
  8     undermines that one.
  9                 Then you have to think the company not only
 10     deceived you, but deceived you on purpose.            And then you
 11     have to take the time and effort to complain, which we
 12     know consumers are loathe to do in many situations.               If
 13     they do take the time and effort to complain, they would
 14     most likely complain back to the company, because
 15     they're trying to get their money back, and those sorts
 16     of complaints wouldn't end up in the sentinel database
 17     that I understand those complaints came from.
 18                 So those are all reasons that the number of
 19     complaints in the sentinel database is not a good gauge
 20     at all of how much deception may or may not be in the
 21     marketplace.
 22            Q.   And, Professor Novemsky, do you recall being
 23     asked a question about a demonstrative that listed the
 24     response from six respondents that said something about
 25     whether the survey was telling them to respond that


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  1                        UNITED STATES OF AMERICA
  2                        FEDERAL TRADE COMMISSION
  3
  4      In the Matter of:                )
  5      INTUIT, INC.,                    )
  6              a corporation,           )   Docket No. 9408
  7                    Respondent.        )
  8    ------------------------------)
  9
 10
 11
 12                            TRIAL, VOLUME 8
 13                         MONDAY, APRIL 10, 2023
 14                     PUBLIC AND IN CAMERA SESSION
 15
 16
 17
 18              BEFORE THE HONORABLE D. MICHAEL CHAPPELL
 19                    Chief Administrative Law Judge
 20
 21
 22
 23
 24
 25                  Reported by:     Sally Jo Quade, RPR
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   1                                   I N D E X
   2
   3     Witness:      Direct:    Cross:    Redirect:      Recross:    Court:
   4     Rubin          1609      1621        1646           1649
   5     Yoeli          1657      1715        1752
   6     Novemsky       1763      1794        1826           1827
   7
   8
   9                              E X H I B I T S
 10      Number:        Marked:       Admitted:      Withdrawn/Stricken:
 11      (None)
 12
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            [pgs. 1766-69]
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  1     toward the end, after they have seen the hard stop or
  2     the upgrade screen, but she also did not ask them about
  3     their beliefs about whether or not they believed they
  4     could file for free.
  5            Q.   Let's turn first to Professor Golder, if we can
  6     move to the next slide.        At a high level, what are your
  7     opinions about the measures that Professor Golder
  8     engaged with regarding this matter?
  9            A.   So my understanding of Professor Golder's
 10     analysis of advertisements was that he took a ruler and
 11     a stopwatch to measure how long disclaimers were there,
 12     how big disclaimers were, and tried to draw conclusions
 13     about deception from that.         These are not tools that a
 14     consumer psychologist would use in this case.              I guess
 15     he is not a consumer psychologist, so he used some other
 16     tools that to me do not bear on the question of consumer
 17     understanding and therefore do not bear on the question
 18     of consumer deception.
 19            Q.   And let's turn to the next slide.         Professor
 20     Golder conducted a review of TurboTax advertisements.
 21     Is that right?
 22            A.   He did.
 23            Q.   And at a high level, what are your -- and
 24     Professor Golder also has opinions about the use of the
 25     term "simple tax returns."         What are your views on the


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  1     effectiveness of the disclaimer "simple tax returns?"
  2            A.   So I believe that the disclaimer is not
  3     effective.      You know, whether or not people see it, my
  4     survey results show very clearly that many consumers
  5     believe they have simple tax returns as TurboTax uses
  6     that phrase, when we know that they do not have simple
  7     tax returns.      So using a disclaimer that people don't
  8     correctly apply to their own tax situation is not ever
  9     going to be effective at mitigating deception.
 10            Q.   And what about the fact that others use the same
 11     disclaimer, "simple tax returns," does that make it more
 12     effective in your opinion?
 13            A.   No, it's not a question of what H&R Block or
 14     anybody else thinks, it's what the consumer thinks that
 15     matters.      And if the consumer thinks they have a simple
 16     return, that's the beginning and end of the story about
 17     whether that's effective.        Again, wideness of use is not
 18     relevant to effectiveness of a disclaimer.
 19            Q.   And Professor Golder also opined about the
 20     location of more detailed disclosures regarding what
 21     "simple tax returns" actually means.           Where do those
 22     more detailed -- where do those details appear?
 23            A.   So as far as I know, for most of the time at
 24     issue in this case, they were behind a hyperlink on the
 25     TurboTax website.       My understanding is more recently


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  1     they have been added also at the bottom, what we call
  2     below the fold, where you can scroll down on the
  3     website, you can find them at the bottom of the website
  4     also.
  5            Q.   And what's your opinion about the detailed
  6     disclosures appearing behind a hyperlink?
  7            A.   I think any disclosure that appears behind a
  8     hyperlink is much less likely to be seen and much less
  9     prominent than a disclosure that appears on the page
 10     that you're looking at above the fold where you're
 11     looking.
 12            Q.   And what about disclosures that appear below the
 13     fold?
 14            A.   Again, we know consumers, you know, don't scroll
 15     if they don't have to, and in this case, they wouldn't
 16     have to.      And so, you know, they're much less likely to
 17     see those than, again, if they had appeared prominently
 18     on the webpage, not behind the link, but the part of the
 19     webpage that consumers see when they load the page.
 20            Q.   And based on the location of the disclosures, in
 21     your opinion, how likely are consumers to interact with
 22     the more detailed disclosures?
 23            A.   I think they're fairly unlikely to interact with
 24     these disclosures because they are not prominently
 25     displayed.


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  1            Q.   And Professor Golder also conducted a
  2     benchmarking analysis of TurboTax advertisements.                  In
  3     your opinion, what does that exercise tell us about
  4     whether or not TurboTax ads were deceptive?
  5            A.   It tells us nothing about whether TurboTax ads
  6     were deceptive for at least two reasons.            One, we don't
  7     know the effectiveness of the disclosures in the
  8     competitor's ads, so saying these are bigger or smaller,
  9     last longer or shorter than those disclaimers, isn't
 10     really relevant to how many consumers are deceived.
 11                 The second thing I would say is, of course there
 12     are different claims being disclaimed and there are
 13     different disclaimers being used.           So disclaiming a free
 14     claim as is the case here may be a particularly
 15     difficult claim to undermine because it's so powerful
 16     and consumers are so drawn to it.           So other competitors
 17     undermining other claims with a disclaimer would not be
 18     relevant to whether TurboTax is effective at disclaiming
 19     its own free claim.
 20            Q.   And what does the benchmarking exercise tell you
 21     about whether consumers can understand TurboTax
 22     disclaimers?
 23            A.   Nothing.
 24            Q.   And why is that?
 25            A.   There is no consumer understanding in any part of


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Tr. 754-755; Rubin (Intuit) Tr. 1555; RX261 (Intuit) at 8; GX352 (FTC) at 2; RX73 (Intuit) at 25;
GX438 (Intuit) ¶16).
       Response to Finding No. 213:

       Complaint Counsel disputes the Proposed Finding. While Intuit’s current TurboTax ads

repeat the word “free” fewer times than the ads that aired in March 2022 when this case

commenced, Intuit’s current TurboTax ads include multiple “free” claims. For example, the

TY22 “Lasso” 15 second TurboTax video ad (RX1444 (Intuit)) includes two free claims: (1) a

voiceover that states: “Filing a simple return for free with the help of a TurboTax expert. See if

you qualify at turbotax.com” (RX1444 (Intuit) at 00:05); and (2) a prominent written claim that

appears on the screen in bright yellow cursive and states: “File Free with Expert Help.” (RX1444

(Intuit) at 00:11). The TY22 “Roller Boogie” 15 second TurboTax video ad (RX1449 (Intuit))

and the TY22 “Taxbourine” 15 second TurboTax video ad (RX1470 (Intuit)) contain the same

repeated free claims. Similarly, the TY22 TurboTax website (RX1500 (Intuit)) includes multiple

free claims including: (1) a large $0 behind Tax expert Claudell in the middle of the page; (2) the

claim “Fill 100% FREE with expert help” in the middle of the page next to Claudell; (3) and the

claim: “Get live help from tax experts, plus a final review before you file – all free” also in the

middle of the page next to Claudell. So, a consumer that watched the TY22 Lasso video ad and

then went to the TY22 TurboTax homepage would have been exposed to at least five free claims.

(RX1444 (Intuit); RX1500 (Intuit)).

               1.      Brand Video Advertisements

       214. Complaint Counsel contend that 131 TurboTax brand video ads that ran between
Tax Years 2014 and 2021 (and one exhibit containing brand video scripts) were deceptive to
reasonable consumers. (Complaint Counsel’s Pretrial Brief at App’x B (Feb. 17, 2023)).
       Response to Finding No. 214:

       Complaint Counsel has no specific response.

        215. Every one of the 131 challenged brand video ads stated that the free offer being
advertised applied to a specific TurboTax SKU, either TurboTax Free Edition or TurboTax Live
Basic. Every challenged brand video ad also stated in writing that the free offer being advertised
was available only to taxpayers with “simple returns only,” or similar language indicating that
the offer was qualified. All the challenged brand video ads also included language—like “see if



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you qualify” or “see details at TurboTax.com”—that invited consumers to visit the TurboTax
website to learn more about the free offer and whether they qualified for that offer. (GX59
(FTC); GX200 (FTC); GX202 (FTC); GX204 (FTC); GX206 (FTC); GX208 (FTC); GX299
(Intuit); GX300 (Intuit); GX307 (FTC); GX309 (FTC); GX321 (FTC); GX323 (FTC); GX324
(Intuit); GX325 (Intuit); GX326 (FTC); GX327 (FTC); GX328 (Intuit); GX329 (Intuit); GX330
(Intuit); GX331 (Intuit); GX332 (FTC); GX344 (Intuit); GX345 (Intuit); GX346 (Intuit); GX347
(Intuit); GX348 (Intuit); GX349 (Intuit); GX350 (Intuit); GX351 (Intuit); GX356 (Intuit);
GX601 (Intuit); GX602 (Intuit); GX603 (Intuit); GX604 (Intuit); GX605 (Intuit); GX606
(Intuit); GX607 (Intuit); GX608 (Intuit); GX609 (Intuit); GX610 (Intuit); GX611 (Intuit);
GX612 (Intuit); GX613 (Intuit); GX614 (Intuit); GX615 (Intuit); GX616 (Intuit); GX619
(Intuit); GX620 (Intuit); GX621 (Intuit); GX622 (Intuit); GX623 (Intuit); GX624 (Intuit); GX625
(Intuit); GX626 (Intuit); GX628 (Intuit); GX629 (Intuit); GX668 (Intuit); GX669 (Intuit);
GX670 (Intuit); GX671 (Intuit); GX672 (Intuit); GX691 (FTC); GX692 (FTC); GX693 (FTC);
GX694 (FTC); GX695 (FTC); GX696 (FTC); GX697 (FTC); GX698 (FTC); GX699 (FTC);
GX700 (FTC); GX701 (FTC); GX702 (FTC); GX703 (FTC); GX704 (FTC); GX705 (FTC);
GX706 (FTC); GX707 (FTC); GX708 (FTC); GX709 (FTC); GX710 (FTC); GX711 (FTC);
GX712 (FTC); GX713 (FTC); GX714 (FTC); GX715 (FTC); GX716 (FTC); GX717 (FTC);
GX718 (FTC); GX719 (FTC); GX720 (FTC); GX721 (FTC); GX722 (FTC); GX774 (FTC);
GX775 (FTC); GX776 (FTC); GX777 (FTC); GX778 (FTC); GX779 (FTC); GX785 (FTC);
GX786 (FTC); GX800 (FTC); GX802 (FTC); GX803 (FTC); GX804 (FTC); GX805 (FTC);
GX806 (FTC); GX807 (FTC); GX811 (FTC); GX815 (FTC); GX816 (FTC); GX820 (FTC);
GX821 (FTC); GX822 (FTC); GX825 (FTC); GX826 (FTC); GX827 (FTC); GX828 (FTC);
GX829 (FTC); GX835 (FTC); GX836 (FTC); GX837 (FTC); GX838 (FTC); GX844 (FTC);
GX848 (FTC); GX849 (FTC); GX855 (FTC); GX856 (FTC); RX32 (Intuit); RX200 (Intuit);
RX201 (Intuit); RX202 (Intuit); Johnson (Intuit) Tr. 606; Ryan (Intuit) Tr. 753-754).
       Response to Finding No. 215:

       Complaint Counsel agrees that the challenged brand video ads contained “simple returns

only” and “see if you qualify” disclaimers. Complaint Counsel also agrees that the challenged

brand video ads referenced TurboTax sub brands or SKUs such as “Free Edition” or “TurboTax

Live.” Complaint Counsel otherwise disputes Intuit’s characterization of the challenged ads in

this Proposed Finding. The best evidence of the challenged ads are the ads themselves.

       Complaint Counsel further disputes this Proposed Finding to the extent it suggests or

implies that Intuit’s free TurboTax advertisements contained adequate disclosures. The evidence

shows that Intuit’s purported disclaimers were insufficient to change the deceptive message

conveyed by Intuit’s false “free” TurboTax claims. (See, e.g., FF-491—FF-503; FF-669—FF-

670). Intuit’s false and deceptive claims are textbook violations of Section 5(a) of the FTC Act,

15 U.S.C. § 45(a). They are likely to mislead consumers acting reasonably under the




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circumstances, to the consumers’ detriment. FTC Policy Statement on Deception, 103 F.T.C. 174,

176 (1984) (appended to In re Cliffdale Assocs., Inc., 103 F.T.C. 110 (1984)) (hereinafter

“Deception Policy Statement”).

       Complaint Counsel further disputes the Proposed Finding in that specific TurboTax SKUs

or sub brands such as TurboTax Free Edition or TurboTax Live don’t resonate with consumers

beyond the TurboTax parent brand. (FF-609). In fact, internal copy testing conducted by Intuit in

the ordinary course of business shows that Intuit’s ads “communicate the parent brand, TurboTax

well, however, only about ~5% take away the sub brand (TurboTax Free, TurboTax Live).” (FF-
609). According to its own copy testing “[m]ost viewers can recall TurboTax, but only a handful

mention the specific product name” when asked “Which brand do you think this ad was for?”

(FF-610). In other words, consumers remember and think of the product as “TurboTax” and

don’t distinguish between SKUs. This reality is also reflected in testimonials and many customer

reviews where consumers typically refer to “TurboTax” as the product without referencing a

particular SKU. (See e.g. RX1500 at 2 (first visible consumer testimonial stating “I have been

using TurboTax for years…” without specifying a SKU and third consumer testimonial stating:

“TurboTax is way better than HR Block” without specifying a SKU; GX183A (two out of three

customer testimonials featured refer to “TurboTax” without specifying a SKU or version).

         216. A screenshot of the title card from a challenged Tax Year 2021 brand video ad,
showing the TurboTax Free Edition logo and the qualifications “TurboTax Free Edition is for
simple U.S. returns only” and “See if you qualify at turobtax.com,” is provided below. (RX202
(Intuit)).




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conveyed by Intuit’s false “free” TurboTax claims. (See, e.g., FF-491—FF-503; FF-669—FF-

670). Thus, Intuit’s advertisements, including its paid search ads, failed to adequately convey the

limitations of its offer. Complaint Counsel further notes that paid search ads in TY 2019 omitted

the “simple returns only” language. (See e.g., FF-445—FF-446). Similarly, a TY20 paid search

ad on Bing omitted the “simple returns only” language. (FF-447).

        267. In most of the challenged paid-search ads, the ad conveyed that there were
qualifications by stating in writing that it was for “simple tax returns only.” GX178 (FTC);
GX179 (FTC); GX180 (FTC); GX190 (FTC); GX191 (FTC); GX192 (FTC); GX193 (FTC);
GX194 (FTC); GX195 (FTC); GX496 (FTC); GX497 (FTC); GX666 (FTC)). In other
challenged paid-search ads, the qualifications were communicated by stating that “Over 50
million Americans can file with TurboTax Free Edition.” (GX167; GX168-A; GX169; GX170).
        Response to Finding No. 267:

        Complaint Counsel disputes this Proposed Finding to the extent it suggests or implies that

Intuit’s free TurboTax paid search advertisements contained adequate disclosures. The evidence

shows that Intuit’s purported disclaimers were insufficient to change the deceptive message

conveyed by Intuit’s false “free” TurboTax claims. (See, e.g., FF-491—FF-503; FF-669—FF-

670). Thus, Intuit’s advertisements, including its paid search ads, failed to adequately convey the

limitations of its offer.

     268. A screenshot of an example of a challenged paid-search ad is provided below.
(GX195 (Intuit)).




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minority of reasonable consumers about their ability to file for free using TurboTax. (RX1018
(Golder Expert Report) ¶84; Golder (Intuit) Tr. 1193-1196, 1208-1213).
       Response to Finding No. 623:

       Complaint Counsel disputes this Proposed Finding. An absence of consumer complaints

is not a reliable measure of an absence of deception. (FF-725). There are several reasons that

consumers who were deceived by a company would not complain. (FF-726—FF-732).

Complaint Counsel further disputes this Proposed Finding because it improperly seeks to use

evidence of customer satisfaction as a defense against liability.

               It is well established that evidence of customer satisfaction is not
               relevant to determining whether challenged advertising claims are
               deceptive. Because proof of actual deception is not necessary for
               purposes of Section 5 liability, evidence that some consumers were
               not injured or were satisfied with services received is not a defense
               to liability. Accordingly, evidence of such satisfaction may be
               excluded as irrelevant. Moreover, evidence of general consumer
               satisfaction does not rebut evidence of deception. Although
               evidence of actual deception is not required to prove liability under
               Section 5, such proof is highly probative to show that a practice is
               likely to mislead consumers acting reasonably under the
               circumstances. However, consumer satisfaction does not
               necessarily indicate the absence of deception. As stated in the
               Commission's recent opinion denying Complaint Counsel's Motion
               for Summary Decision, “the fact that most customers who chose to
               use a TurboTax product were generally happy with that product
               does not render non-deceptive a particular ad that drove people to
               the TurboTax website.”
In re Intuit, Inc., 2023 WL 2609450, at *8–9 (F.T.C. Mar. 7, 2023) (order granting Complaint

Counsel's Motion to Preclude Admission of Evidence of Customer Satisfaction) (Chappell,

C.A.L.J.) (citations omitted) (quoting In re Intuit Inc., 2023 WL 1778377, at *12 (F.T.C. Jan. 31,

2023) (Commission order denying summary decision)).

        624. Consumers who expect to receive a product for free but ultimately have to pay for
it would normally be angry, and such anger would manifest itself in a high rate of consumer
complaints and low customer retention for the company in question. (Golder (Intuit) Tr. 1189-
1191, 1213-1214). As an article cited by Complaint Counsel’s rebuttal witness Erez Yoeli and
written by Nobel Prize-winning economist George Akerlof explains, “Brand names” (like the
TurboTax brand) “give the consumer a means of retaliation if the quality does not meet
expectations,” including by “curtail[ing] future purchases.” (RX1370 (FTC) at 499-500; Yoeli
(FTC) Tr. 1739-1740). Likewise, academic marketing literature explains that complaints are a
“major source of information on the quality of products and companies.” (RX1552 (FTC) at
168). “Customer complaints … represent critical turning points in [a] company’s relationship



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       In addition to those reasons set forth immediately above in RFF-623 and RFF-624,

Complaint Counsel further disputes this Proposed Finding because it contains an expert opinion

(namely, that “a meaningful volume of consumer complaints is a ‘clear signal’ of deception”) of

Professor Golder that is not contained in his expert report, and should therefore be stricken. (See

Chappell (ALJ) Tr. 889 (admonishing the parties that “anything that’s in … the transcript of this

trial spoken by an expert that is pointed out in post-trial briefing that was not in the report will

not be considered in any decision in this case.”)).

      626. The record does not show a meaningful volume of consumer complaints.
(RX1018 (Golder Expert Report) ¶¶68, 83-84; Golder (Intuit) Tr. 1057-1058, 1189-1190).
       Response to Finding No. 626:

       Complaint Counsel disputes the Proposed Finding. The Proposed Finding is

impermissibly vague, as Intuit has not defined or articulated what is considers to be a

“meaningful” number of consumer complaints. Instead, the record reflects that Intuit was aware

of complaints regarding its price (FF-619—FF-662), including over three thousand examples of

negative customer feedback regarding Intuit’s free claims (see FF-662). Even if that were not the

case, an absence of consumer complaints is not a reliable measure of an absence of deception.

(FF-725). There are several reasons that consumers who were deceived by a company would not

complain. (FF-726—FF-732). (See also RCL-94, RCL-96, RCL-97).

       627. Seeking to carry their burden of proving that the challenged TurboTax ads are
deceptive, Complaint Counsel have relied on complaints in the “Consumer Sentinel” database,
an FTC database that collects complaints from consumers, as well as from state attorneys
general, the Better Business Bureau (“BBB”), other federal agencies, and others. (Shiller (FTC)
Tr. 144-145, 150; Baburek (FTC) Tr. 336).
       Response to Finding No. 627:

       Complaint Counsel disputes this Proposed Finding to the extent it is read to characterize,

summarize, or explain Complaint Counsel’s strategy or position without specific reference to the

pleadings or other statements by counsel, and because it is ambiguous and confusing.




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       Second, Professor Golder’s numerator is almost surely too small. As an initial matter, in

order to complain, consumers would need to be aware that they had been deceived and would

also have to attribute the deception to TurboTax rather than themselves. (FF-726—FF-729; see

FF-841—FF-842). And consumers would have to believe that Intuit deceived them on purpose in

order to be motivated to complain. (FF-730). Moreover, consumer face barrier to complaining.

For example, consumers would have to decide that making a complaint was worth the time and

effort, and would have to know where to complain. (FF-731—FF-732). “Consumers may not

know to complain to the Better Business Bureau or other law enforcement agencies like the FTC.
(GX749 (Novemsky Rebuttal Report ¶ 218 n. 328). The most reliable and likely place consumers

may complain about Intuit is Intuit itself. (FF-724). Moreover, Professor Golder’s review of

Sentinel complaints was fundamentally flawed, as he excluded many complaints from consumers

who could very well have been deceived by Intuit advertisements. For example, Professor

Golder excluded complaints from consumers who thought they could file for free because of

their low income. (RX1017 (Golder Expert Report) ¶ 76). But as the perception survey shows,

many consumers have a misunderstanding about whether they can use TurboTax for free because

they think “simple returns” is related to the amount of income they have. (See GX303

(Novemsky Expert Report) ¶ 88).

       637. However counted, the number of complaints is microscopic compared to the
number of views, impressions, and clicks that the challenged ads received: Two TurboTax Free
Edition YouTube ads alone received over 15 million views in total. (Shiller (FTC) Tr. 272).
Likewise, in Tax Years 2020 and 2021, TurboTax Free Edition ads generated over 15 billion
impressions and were clicked on over 130 million times. (Baburek (FTC) Tr. 338). Over that
same period, only 44 Sentinel complaints were filed. (Baburek (FTC) Tr. 338; Complaint
Counsel’s Pretrial Brief at 25 (Feb. 17, 2023)). Even considering only the advertisement clicks
from Tax Years 2020 and 2021, and ignoring consumers who would have seen ads through other
mediums in other years, the full set of 228 complaints amounts to just 0.000175% of those who
clicked on a TurboTax ad.
       Response to Finding No. 637:

               Complaint Counsel disputes the portion of the Proposed Finding “However

counted, the number of complaints is microscopic compared to the number of views,




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impressions, and clicks that the challenged ads received,” as this rhetoric is not supported by the

evidentiary record. For example, there is no expert report or testimony on which this opinion is

based. This portion of the finding should therefore be disregarded. Order on Post-Trial Filings at

2 (“All proposed findings of fact shall be supported by specific references to the evidentiary

record.”).

       Complaint Counsel does not dispute that “Two TurboTax Free Edition YouTube ads alone

received over 15 million views in total” or in Tax Years 2020 and 2021, TurboTax Free Edition

ads generated over 15 billion impressions and were clicked on over 130 million times.”
       Complaint Counsel disputes that “Over that same period [Tax Years 2020 and 2021], only

44 Sentinel complaints were filed.” 43 relevant Sentinel complaints were recorded between

January 1, 2021, and March 28, 2022, and 26 were recorded between November 1, 2021, and

March 28, 2022. (FF-677).

         638. Intuit’s rate of BBB complaints (31.3 complaints per million customers) is also
statistically significantly less than the complaint rate of 18 benchmark companies (including
TurboTax competitors H&R Block, TaxAct, TaxSlayer, FreeTaxUSA, and Cash App Taxes), who
incurred an average of 191.2 complaints per million customers. (Golder (Intuit) Tr. 1211;
RX1018 (Golder Expert Report) ¶¶86-89, fig. 10, App’x G, fig. G-2). A chart depicting
TurboTax’s complaint rate compared to benchmark companies is provided below. (RX Summary
3 (Intuit); RX1018 (Golder Expert Report) ¶89, fig. 10, App’x G, fig. G-2).




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